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     Wilmer J. Harris, SBN 150407
 1
     wharris@sshhlaw.com
 2   Stephanie T. Yu, SBN 294405
     syu@sshhlaw.com
 3   SCHONBRUN SEPLOW
 4   HARRIS & HOFFMAN LLP
     715 Fremont Ave., Suite A
 5   South Pasadena, CA. 91030
     Telephone No.: (626) 441-4129
 6   Facsimile No.: (626) 283-5770
 7   [Additional counsel on following page]

 8   Attorneys for Plaintiff Nicolle O’Neill
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10                                  UNITED STATES DISTRICT COURT

11                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES and the STATE OF             Case No. 1:15-CV-00433-DAD-EPG
13   CALIFORNIA ex rel. NICOLLE O’NEILL,
     NICOLLE O’NEILL                            ORDER AND JOINT STIPULATION TO
14                                              AMEND SCHEDULING ORDER
15                         Plaintiffs/Relator
                                                Complaint Filed:   09/15/15
16          vs.                                 Trial Date:        02/25/2020
17   SOMNIA, INC., PRIMARY ANESTHESIA           Judge: Hon. Dale A. Drozd
18   SERVICES, PST SERVICES LLC, ROBERT
     GOLDSTEIN, M.D., ROY WINSTON, M.D.,
19   BYRON MENDENHALL, M.D., QUINN
     GEE, M.D., AND MARGARET VASSILEV,
20   M.D, and DOES 1 through 10, inclusive
21
                           Defendants.
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          Case 1:15-cv-00433-DAD-EPG Document 116 Filed 02/12/19 Page 2 of 4



     Andrea Gold (admitted pro hac vice, DC Bar. No. 502607)
 1
     agold@tzlegal.com
 2   TYCKO & ZAVAREEI LLP
     1828 L Street NW, Suite 1000
 3   Washington, D. C. 20036
 4   Telephone No.: (202) 973-0900
     Facsimile No.: (202) 973-0950
 5
     Michael D. Seplow, SBN 150183
 6   mseplow@sshhlaw.com
 7   SCHONBRUN SEPLOW
     HARRIS & HOFFMAN LLP
 8   11543 W. Olympic Blvd.
     Los Angeles, CA 90064
 9
     Telephone No.: (310) 396-0731
10   Facsimile No.: (310) 399-7040

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     Attorneys for Plaintiff Nicolle O’Neill
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 1           Relator Nicole O’Neill (“Relator”) and defendants Somnia, Inc. Primary Anesthesia
 2   Services, Byron Mendenhall, M.D., Quinn Gee, M.D., and Margaret Vassilev, M.D. (collectively
 3   “Defendants”) by and through their respective counsel of record, hereby stipulate and agree as
 4   follows:
 5           WHEREAS, on January 25, 2019, a telephonic informal discovery conference was held
 6   before Magistrate Judge Grosjean with counsel for Relator and Defendants appearing;
 7           WHEREAS, the parties and the Court agreed that the parties require substantially more
 8   time to agree to, and execute, a sampling protocol of the anesthesia records and bills material to
 9   the resolution of this case;
10           WHEREAS, because extensive time will be required to negotiate and execute an agreed-
11   upon sampling protocol, the current Scheduling Order does not provide sufficient time for the
12   parties to complete discovery in this matter,
13           THEREFORE, the Parties stipulate to amend the Scheduling Order as follows:
14           Mediation Completion Deadline:               November 29, 2019
15           Nonexpert Discovery Cutoff:                  February 25, 2020
16           Expert Disclosure:                           March 24, 2020
17           Rebuttal Expert Disclosure:                  April 22, 2020
18           Expert Discovery Cutoff:                     June 2, 2020
19           Dispositive Motion Filing Deadline:          July 14, 2020
20           Pretrial Conference:                         November 16, 2020 at 1:30 pm
21           Jury Trial:                                  January 26, 2021 at 8:30 am
22
     DATED: February 12, 2019                SCHONBRUN SEPLOW
23
                                             HARRIS & HOFFMAN LLP
24
                                                    /s/ Wilmer J. Harris
25                                           By: __________________________________
26                                                  Wilmer J. Harris
                                                    Attorneys for Relator/Plaintiff, Nicolle O’Neill
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 1   DATED: February 12, 2019                     NIXON PEABODY LLP
 2                                                       /s/ Jason Gonzalez
                                          By:     __________________________________
 3                                                    Jason Gonzalez
 4                                                Attorneys for Defendant
 5                                                SOMNIA, INC., PRIMARY ANESTHESIA
                                                  SERVICES, PST SERVICES, LLC, BYRON
 6                                                MENDENHALL, M.D., QUINN GEE, M.D., and
                                                  MARGARET VASSILEV, M.D.
 7
 8
 9                                              ORDER
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            Good cause appearing, the Scheduling Order (ECF No. 76) is modified as stipulated by
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     the parties. This schedule should be considered final with no further extensions absent
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13   unforeseeable good cause.

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15   IT IS SO ORDERED.
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17      Dated:     February 12, 2019                          /s/
                                                         UNITED STATES MAGISTRATE JUDGE
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